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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 16-CV-23330-JAL

 CHARLES H. KINSEY,

         Plaintiff,

 v.

 JONATHAN ALEDDA, individually,
 KEVIN WARREN, individually, ALENS
 BERNADEAU, individually, KEVIN CRESPO,
 Individually, EMILE HOLLANT, individually,
 MILTON REID, individually, and the CITY OF
 NORTH MIAMI, FLORIDA, a municipal corporation.

       Defendants.
 _____________________________________________/

                                JOINT NOTICE OF SETTLEMENT
          PLEASE TAKE NOTICE that Plaintiff, CHARLES H. KINSEY, by and through his

 undersigned counsel, and JONATHAN ALEDDA, KEVIN WARREN, ALENS BERNADEAU,

 KEVIN CRESPO, and EMILE HOLLANT, by and through their undersigned counsel, file this Joint

 Notice of Settlement pursuant to S.D. FL. Local Rule 16.4. The settlement includes a complete

 dismissal of this lawsuit against all parties.



                                                  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 15, 2019, I have filed the foregoing document with the

 Clerk of the Court using the CM/ECF system. I also certify that the foregoing document is being

 served this day on all counsel and parties of record either via transmission of Notices of Electronic

 Filing generated by CM/ECF or in some other authorized manner for those parties who are not

 authorized to receive electronically Notices of Electronic Filing.


                                                       By: /s/ Hilton Napoleon, II
                                                               Hilton Napoleon, II
